                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      NO. 3:12-00076
                                                      )      JUDGE CAMPBELL
ALLEN ROY WALKER, et al.                              )

                                              ORDER

         Because no plea agreements have been submitted, the alternate change-of-plea hearing

scheduled for December 10, 2012, is CANCELLED.

         It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




     Case 3:12-cr-00076      Document 160       Filed 12/07/12      Page 1 of 1 PageID #: 316
